






	



		







NUMBER 13-09-00429-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG






IN RE BARRY DWAYNE MINNFEE






On Petition for Writ of Mandamus.






MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Benavides


Per Curiam Memorandum Opinion (1)



	Relator, Barry Dwayne Minnfee, pro se, filed a petition for writ of mandamus in the
above cause on June 17, 2009, asking this Court to "compel the trial court to respond to
Intentional Tort filed June 15, 2009 with Clerk Patsy Perez District Court." (2) 

	We deny the petition for writ of mandamus for the reasons stated herein.  First, the
petition for writ of mandamus fails to comply with the Texas Rules of Appellate Procedure. 
See generally Tex. R. App. P. 52.3.  Specifically, for instance, the petition lacks an
appendix and a record, fails to contain a "clear and concise argument for the contentions
made, with appropriate citations to authorities and to the appendix or record," and is largely
illegible.  See id. 52.3(h).  Second, relator has not demonstrated that the trial court
expressly refused to rule on relator's "Intentional Tort" or that an unreasonable amount of
time has passed since that document was filed.  See In re Dimas, 88 S.W.3d 349, 351
(Tex. App.-San Antonio 2002, orig. proceeding); In re Chavez, 62 S.W.3d 225, 228 (Tex.
App.-Amarillo 2001, orig. proceeding); Barnes v. State, 832 S.W.2d 424, 426 (Tex.
App.-Houston [1st Dist.] 1992, orig. proceeding); accord O'Connor v. First Ct. of Appeals,
837 S.W.2d 94, 97 (Tex. 1992) (orig. proceeding).	

	The Court, having examined and fully considered the petition for writ of mandamus,
is of the opinion that relator has not shown himself entitled to the relief sought. 
Accordingly, the petition for writ of mandamus is  DENIED.  See Tex. R. App. P. 52.8(a). 


  							PER CURIAM



Memorandum Opinion delivered and 

filed this the 28th day of July, 2009. 

				


								

1.  See Tex. R. App. P. 52.8(d) ("When denying relief, the court may hand down an opinion but is not
required to do so."); Tex. R. App. P. 47.4 (distinguishing opinions and memorandum opinions).
2.  This Court has previously a similar petition filed by relator.  See generally In re Minnfee, No. 13-09-00268-CV, 2009 Tex. App. LEXIS 5030, at *1-2 (Tex. App.-Corpus Christi May 18, 2009, orig. proceeding).

